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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF TEXAS
                                 Fort Worth Division

                                                  )
    UNITED STATES OF AMERICA                      )
                                                  )
         Plaintiff,                               )
                                                  )
                 v.                               )     4:21-cr-00005-O
                                                  )
    THE BOEING COMPANY,                           )
                                                  )
         Defendant.                               )
                                                  )

                              GOVERNMENT STATUS REPORT

        The United States of America (the “Government”) respectfully submits this status report

to inform the Court that the Government held a virtual conferral yesterday, May 16, 2025, for the

families of the victims of the Lion Air Flight 610 and Ethiopian Airlines Flight 302 airplane crashes

(“Families”) and their respective counsel. 1 Several Families and counsel attended. The conferral

lasted for over two hours, and every participant who wanted to speak was able to do so. The

Government was represented by the Acting Chief of the Criminal Division’s Fraud Section and the

Acting U.S. Attorney for the Northern District of Texas.

        The purpose of the conferral was to tell the Families the status of the parties’ discussions

about a potential pretrial resolution, and to provide the Families and their counsel the opportunity

to provide their views on whether the Government should pursue the pretrial resolution or proceed

to trial. The Government explained that the parties have discussed a possible framework for a non-

prosecution agreement—but have not exchanged a draft written agreement—that would impose



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  The Government invited Boeing’s airline entity customers that purchased the 737 MAX airplane
(“Airline Entity Customers”) to the conferral. None chose to join.
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obligations on both parties. The Government explained the material obligations the possible

framework would place on Boeing—including the statutory maximum fine, required expenditures

on compliance improvements, retention of an independent compliance consultant, and the creation

of another fund for additional compensation to the Families. The Government also explained that

under that framework it would be required to file a consent motion to dismiss the pending Criminal

Information without prejudice, pursuant to Federal Rule of Criminal Procedure 48(a).

       The Government made clear during the conferral that it has not decided whether to enter

into the agreement or to proceed to trial, and would not make the decision until after finishing

conferring with the Families. The consistent position expressed by those Family members and

counsel who spoke was that the Government should proceed to trial and that they would oppose a

motion to dismiss. The Government will continue to consider all of the views expressed during the

conferral before it decides how to proceed.

       During the conferral, the Families also expressed a desire to provide written submissions

to the Government. In light of the upcoming pretrial deadlines, including the May 27th deadline

for motions in limine, the Government has agreed to receive such written submissions by Thursday,

May 22nd. The Government will inform the Court promptly of its decision on how to proceed after

considering any submissions it receives.




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                                          Respectfully submitted,

LORINDA I. LARYEA                         CHAD E. MEACHAM
Acting Chief, Fraud Section,              Acting United States Attorney
Criminal Division                         Northern District of Texas
United States Department of Justice


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cc: Counsel of Record (via ECF)




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